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 8   Attorneys for Plaintiffs
     Temujin Labs Inc., a Delaware corporation, and
 9   Temujin Labs Inc., a Cayman Islands corporation.

10
                               UNITED STATES DISTRICT COURT
11
                           NORTHERN DISTRICT OF CALIFORNIA
12

13   TEMUJIN LABS INC., a Delaware                 CASE NO.: 4:21-CV-09152-JST
     corporation, and TEMUJIN LABS INC., a
14   Cayman Islands corporation,                   [PROPOSED] ORDER GRANTING
                                                   PLAINTIFFS’ MOTION FOR
15                    Plaintiffs,                  ENLARGEMENT OF TIME UNDER
                                                   FEDERAL RULE OF CIVIL PROCEDURE
16          v.                                     6(b)

17   TRANSLUCENCE RESEARCH, INC., a                [N.D. Cal. Civil Code Local Rule 6-3]
     Delaware corporation, BENJAMIN
18   FISCH, CHARLES LU, BENEDIKT                   Courtroom: Courtroom 6, 2nd Floor
     BÜNZ, NATHAN MCCARTY,                         Judge: Hon. Jon S. Tigar
19   FERNANDO KRELL, PHILIPPE
     CAMACHO CORTINA, BINYI CHEN,                  Complaint Filed: November 24, 2021
20   AND LUOYUAN (ALEX) XIONG, and
     DOES 1-20, inclusive,
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                      Defendants.
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     [PROPOSED] ORDER GRANTING MOTION FOR ENLARGEMENT OF TIME
        Case 4:21-cv-09152-JST Document 18 Filed 02/28/22 Page 2 of 2



 1          On February 17, 2022, Plaintiffs Temujin Labs Inc., a Delaware corporation (“Temujin

 2   Delaware”) and Temujin Labs Inc., a Cayman Islands corporation (“Temujin Cayman”)

 3   (collectively, “Plaintiffs”) filed a Motion for Enlargement of Time Under Federal Rule of Civil

 4   Procedure 6(b). Having considered the papers filed in support of the instant motion, and for good

 5   cause appearing, the Court grants the motion.

 6          IT IS HEREBY ORDERED THAT the time for Plaintiffs to effect service upon

 7   Defendants Benedikt Bünz and Binyi Chen in this action is extended for a further 60 days.

 8          IT IS SO ORDERED.

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10                   28 2022
     Dated: February __,                                  ____________________________________

11                                                        HON. JON S. TIGAR

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      [PROPOSED] ORDER GRANTING MOTION                1
      FOR ENLARGEMENT OF TIME
